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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

JOSEPH BERRY,
        Plaintiff,
v.                                                  Case No. 4:24-cv-496-AW-MJF
DEPARTMENT OF CHILDREN AND
FAMILY SERVICES and STATE OF
FLORIDA,
     Defendants.
_______________________________/
          ORDER ADOPTING REPORT AND RECOMMENDATION

        Plaintiff has not complied with court orders or paid the filing fee, and he has

not objected to the magistrate judge’s report and recommendation (ECF No. 13),

which recommends dismissal on that basis. It appears Plaintiff has abandoned his

case.

        I now adopt the report and recommendation and incorporate it into this order.

The clerk will enter a judgment that says, “This case is dismissed without prejudice

for failure to comply with a court order and failure to pay the filing fee.” The clerk

will then close the file.

        SO ORDERED on May 5, 2025.

                                        s/ Allen Winsor
                                        United States District Judge
